In the above-entitled cause the relator on January 8, 1930, obtained a writ of supervisory control directing the district court of Wheatland county to annul an order striking his memorandum of costs on appeal from the files. Thereafter he filed an affidavit alleging that in the absence of an entry of judgment awarding him costs incurred incident to bringing the proceeding for the writ in the supreme court, he was unable to collect such costs, and submitted a motion praying for entry of such judgment.
Decided February 25, 1930.
It appearing that relator has served his memorandum of costs herein (see State ex rel. Bullard v. District Court, 86 Mont. 358,284 P. 125) and that he is entitled to judgment accordingly, it is now ordered that judgment be, and the same is hereby, entered in favor of relator and against the district court of the Fourteenth Judicial District of the State of Montana, in and for the county of Wheatland, for the sum of $10, and it is adjudged that the same is a proper charge against the county of Wheatland.